     Case 1:18-cv-01277-AJT-MSN Document 17 Filed 03/18/19 Page 1 of 2 PageID# 49




 1                               UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
 2
                                     ALEXANDRIA DIVISION
 3

 4   NANCY WESTBURY,                                ) Case No. 1:18-cv-01277-AJT-MSN
                                                    )
 5                  Plaintiff,                      ) NOTICE OF SETTLEMENT
                                                    )
 6          v.                                      )
                                                    )
 7                                                  )
     CAPITAL ONE BANK (USA), N.A.,                  )
 8                                                  )
                    Defendant.                      )
 9

10          NOTICE IS HEREBY GIVEN that Plaintiff Nancy Westbury (“Plaintiff”) and Defendant
11   Capital One Bank (USA), N.A. (“Defendant”) have reached a settlement in the above-captioned
12
     matter. The parties anticipate that a Joint Stipulation of Dismissal With Prejudice will be filed
13
     within (45) days as the parties finalize a settlement agreement. Pending the Joint Stipulation, the
14
     parties respectfully request this honorable Court to vacate all deadlines and hearings.
15
            Plaintiff is filing this Notice with Defendant’s approval and permission.
16

17
                                                   RESPECTFULLY SUBMITTED,
18

19   DATED: March 18, 2019
20                                                 By: /s/ Francis Webb
                                                   Francis Alexander Webb
21
                                                   Law Office F A Webb, PLLC
                                                   4103 Chain Bridge Rd.
22
                                                   Suite 300
23                                                 Fairfax, VA 22030
                                                   (703) 539-2003
24                                                 Email: frank@fawebb.com
                                                   Attorney for Plaintiff
25



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                                          NOTICE OF SETTLEMENT
     Case 1:18-cv-01277-AJT-MSN Document 17 Filed 03/18/19 Page 2 of 2 PageID# 50



                                    CERTIFICATE OF SERVICE
 1
            I hereby certify that I filed the foregoing document using the Court’s CM/ECF system,
 2

 3   which will notify all parties, through their attorneys of record, including for Capital One Bank

 4   (USA), N.A., the following:

 5
     James Patrick McNichol
 6   McGuireWoods LLP (Richmond)
     Gateway Plaza
 7   800 East Canal Street
     Richmond, VA 23219
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     (804) 775-7323
 9
     Fax: (804) 775-1061
     Email: pmcnichol@mcguirewoods.com
10   TERMINATED: 02/27/2019
     ATTORNEY TO BE NOTICED
11
     John Darren Sadler
12   Ballard Spahr LLP (MD)
     4800 Montogomery Lane
13   7th Floor
     Bethesda, MD 20814-3401
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     301-664-6200
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     Fax: 301-664-6299
     Email: sadlerj@ballardspahr.com
16   ATTORNEY TO BE NOTICED

17
     DATED: March 18, 2019
18
                                                 By: /s/ Francis Webb
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                                                 Attorney for Plaintiff

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                                         NOTICE OF SETTLEMENT
